Filed 04/26/16                                                  Case 15-14228                                                                Doc 102
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 15-14228-B
    Oscar Gutierrez                                                                                            Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: vmcf                         Page 1 of 1                          Date Rcvd: Apr 26, 2016
                                          Form ID: L157                      Total Noticed: 1

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Apr 28, 2016.
    aty            +Cynthia A. Arroyo,   740 G St #F,   Reedley, CA 93654-2629

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    NONE.                                                                                       TOTAL: 0

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: Apr 28, 2016                                            Signature: /s/Joseph Speetjens

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                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on April 26, 2016 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 04/26/16                                                     Case 15-14228                                                   Doc 102
        FORM L157 Memo to File Re: Calendar Correction (v.2.13)                                                15−14228 − B − 13

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                              Robert E. Coyle United States Courthouse
                                   2500 Tulare Street, Suite 2501
                                      Fresno, CA 93721−1318

                                              (559) 499−5800
                                           www.caeb.uscourts.gov
                                           M−F 9:00 AM − 4:00 PM


                                       MEMO TO FILE RE: CALENDAR CORRECTION

        Case Number:          15−14228 − B − 13                                             DCN:      CAA−2

        Case Title:       Oscar Gutierrez


          TO WHOM IT MAY CONCERN:
          An application/motion/objection and Notice of Hearing were submitted for filing with incorrect hearing
          date/time/department/Docket Control Number. This application/motion/objection will be calendared ONLY upon receipt of
          an Amended Notice of Hearing with the correct date/time/department/Docket Control Number filled in.
          Contacted by phone: Valerie
          The following calendar corrections have been made:
                 Dept:                                                  Date:
                 Time:                                                  DCN #:
          Other:
                 Amended notice to reflect correction to time per Judge Lastreto's Chapter 13 self−set calendar.

          The filing party will submit a Notice of Hearing or an Amended Notice of Hearing as necessary.



        Dated:                                                          For the Court,
        4/26/16                                                         Wayne Blackwelder , Clerk
